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                       IN THE UNITIED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

 MATTHEW P. SCHELLINGER,

       Plaintiff,

 vs.                                                      CASE NO.: 8:16-cv-1146-VMC-TBM

 NATIONSTAR MORTGAGE, LLC,

       Defendant,
                                              /

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties hereby

dismiss the above-entitled action and all claims asserted in the action with prejudice, with each

party to bear their own fees and costs.

Date: September 28, 2016


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 28, 2016, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court using the CM/ECF system, which will send an electronic

notification to all counsel of record, including the following parties:

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